         Case 3:16-cr-00220-AWT Document 221 Filed 02/27/18 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                              :       No. 3:16-CR-220 (AWT)
                                                      :
v.                                                    :
                                                      :
                                                      :
DAVID DEMOS,                                          :
                                                      :
               Defendant.                             :              February 1, 2018

 DEFENDANT DEMOS’S REPLY MEMORANDUM IN FURTHER SUPPORT OF HIS
     MOTION TO DISCLOSE THE GRAND JURY LEGAL INSTRUCTIONS

       The Government’s opposition memorandum largely rests on the claim that Mr. Demos has

not shown a particularized need for a more fulsome disclosure of the Grand Jury transcripts,

particularly those sections that capture the legal instructions provided to the Grand Jurors.

       The flaw in the Government’s arguments in its opposition is evident. It insists on a showing

of particularized need that can only be accomplished by a review of the entire Grand Jury

transcript. That is, the Government challenges Mr. Demos’s request on the ground that it cannot

point to particular examples of misleading legal instructions in a transcript to which Mr. Demos

does not have access. This, by definition, is circular. Mr. Demos cannot point to the Grand Jury

transcript with the degree of granularity implied by the Government’s opposition. Such a standard

ensures that no accused can ever successfully meet a particularized need standard sufficient to

warrant production of Grand Jury transcripts. Instead, Mr. Demos points, with particularity, to

known sections of the Grand Jury transcripts that contain prejudicial error, and couples that with

recorded instances of the Government misstating Federal Securities laws.

       Significantly, even in its opposition, the Government misstates the securities law by

insisting on a false equivalence between materiality and importance. Information “important” to

an investor is not sufficient to visit criminal liability on Mr. Demos. Importance, alone, is not a
         Case 3:16-cr-00220-AWT Document 221 Filed 02/27/18 Page 2 of 3



category that the law recognizes as a basis for culpability under the securities laws. See City of

Pontiac Policemen’s & Firemen’s Retirement System v. UBS, AG, 752 F.3d 173, 185 (2d Cir.

2014) (“But while importance is undoubtedly a necessary element of materiality, importance and

materiality are not synonymous.”). Instead, the law requires that the misrepresentation be so

important that it “significantly altered the total mix of information.” The Government’s repeated

insistence that a mere finding of importance to an investor, as a legally significant category, is

sufficiently troubling to impel this Court to order disclosure of the Grand Jury transcripts.

       Contrary to the Government’s claim, Mr. Demos has met his obligation and raised issues

from the record, to which he has access, that gives rise to an inference of prejudicial error. In his

papers, Mr. Demos demonstrates instances where the Government, inter alia, has (1) consistently

and repeatedly misstated the law of willfulness and materiality; (2)

                                     (3)

                                                                                       (4)



                                  and, (5)

                                                                    The foregoing resolves the

balance between the need for disclosure of Grand Jury transcripts and the requisites of Grand

Jury secrecy in favor of the Court ordering disclosure and reviewing the legal instructions

provided to the Grand Jury.

                                           CONCLUSION

       For the above reasons, this Honorable Court should order the Government to disclose the

Grand Jury legal instructions.




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    Case 3:16-cr-00220-AWT Document 221 Filed 02/27/18 Page 3 of 3




                                           Respectfully submitted,

                                           DAVID DEMOS


                                       By: _/s/ George Leontire___

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